             Case 5:20-cv-01520-LHK Document 23-3 Filed 07/10/20 Page 1 of 2



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  9
       and the alleged Class
10
       * Pro Hac Vice Admission Pending
11
                                    UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
                                          SAN JOSE DIVISION
13
1.14    LOUIS FLOYD, individually and on behalf            Case No. 5:20-cv-01520-LHK
        of all others similarly situated,
 15                                                        [PROPOSED] ORDER GRANTING
2.                              Plaintiff,                 PLAINTIFF’S RENEWED MOTION FOR
 16                                                        ORDER REGARDING ALTERNATIVE
3.      v.
                                                           SERVICE ON DEFENDANTS
 17
4.      SARATOGA DIAGNOSTICS, INC., a
        California corporation, and THOMAS                 Date: November 5, 2020
 18
        PALLONE, an individual,                            Time: 1:30 p.m.
19                                                         Judge: Honorable Lucy H. Koh
                                Defendant.                 Courtroom: 8
20                                                         Complaint Filed: March 1, 2020

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               Having considered the moving papers and all other matters presented to the Court, the
23
       Court finds that Plaintiff’s Renewed Motion for Order Regarding Alternative Service on
24
       Defendants should be granted, and hereby orders as follows:
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               1.      The Motion is GRANTED.
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               2.      Plaintiff shall serve the Complaint, Summons, this Order, and all other relevant
27
28     [Proposed] Order Granting Renewed
       Motion for Alternative Service                  1
          Case 5:20-cv-01520-LHK Document 23-3 Filed 07/10/20 Page 2 of 2




 1                   initiating documents upon Saratoga Diagnostics, Inc. by hand delivering the
 2                   documents to the California Secretary of State.
 3           3.      The Court finds that Defendant Thomas Pallone was sufficiently served by
 4                   certified mail on June 8, 2020.
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 6   IT IS SO ORDERED.
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                                                           Hon. Lucy H. Koh
 8                                                         United States District Judge
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27
28   [Proposed] Order Granting Renewed
     Motion for Alternative Service                    2
